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GAS 245B          (Rev. 11/16)Judgment in a Criminal Case
DC Custody TSR



                                         United States District Court
                                                      SOUTHERN DISTRICT OF GEORGIA
                                                           SAVANNAH DIVISION
                                                                            )
             UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
                                                                            )
                                  V.                                        )
                           Marcellus Scott                                  )
                                                                                      Case Number:            4:I6CR00260-2
                                                                            )
                                                                            )         USM Number:             21657-021
                                                                            )
                                                                            )         Stephen H. Harris
                                                                                      Defendant's Attorney
THE DEFENDANT:

^ pleaded guilty to Count           I.
□ pleaded nolo contendere to Count(s)                         which was accepted by the court,

□ was found guilty on Count(s)                         after a plea of not guilty.

The defendant is adjudicated guilty of this offense:

Title & Section                     Nature of Offense                                                               Offense Ended               Count


21 U.S.C. § 841 (a)( 1),            Conspiracy to possess with intent to distribute and to distribute                  June 2016                  I
21 U.S.C. § 841 (b)( I ){C),and     quantities of cocaine
21 U.S.C. §846

      The defendant is sentenced as provided in pages 2 through                     of this Judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
□ The defendant has been found not guilty on Count(s)
13 Counts 6 and 8 are dismissed on the motion of the United States as to the defendant.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing adddsss until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defewaant must notify the court and United States attorney of material changes in economic circumstances.
                  CO ■''C I
                                                                             March 20, 2017
                                                                             bate of Imposition of Judgment

    h


                                                                             Signature of Judge



                 cr.

                                                                             William T. Moore, Jr.
                                                                             Judge, U.S. District Court
                                                                             Name and Title of Judge




                                                                             Date
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